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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA

Vv.

CHRISTOPHER WORRELL,

Defendant.

The Grand Jury charges that:

CRIMINAL NO. 21-CR-292

VIOLATIONS:

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds Using a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

INDICTMENT

COUNT ONE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER

WORRELL did unlawfully and knowingly enter and remain in a restricted building and grounds,

that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
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and its grounds, where the Vice President was temporarily visiting, without lawful authority to do
so, and, during and in relation to the offense, did use and carry a deadly and dangerous weapon,
that is, a canister of pepper gel spray.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WORRELL did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a canister of pepper gel spray.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WORRELL did knowingly engage in any act of physical violence against any person and property
in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a canister of pepper gel spray.

(Engaging in Physical Violence in a Restricted Building or Grounds Using a Deadly
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or Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4)
and (b)(1)(A))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WORRELL willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WORRELL committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer lawfully engaged in the lawful performance of his official duties, incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
COUNT SIX
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WORRELL using a deadly or dangerous weapon, that is, a canister of pepper gel spray, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, while such officer
or employee was engaged in or on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.
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(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
